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FILED

UNITED STATES DISTRICT COURT SEP _ 2 2018

FOR THE DISTRICT OF COLUMBIA

Clerk, U.S. District & Bankruptcy
Courts for the District of Co|umbia
IN RE GRAND JURY INVESTIGATION

Grand Jury Action No. 18-34 (BAH)

 

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It is hereby ORDERED that the Joint Motion to Unseal Contempt Order, ECF No. 43, the
Court’s order regarding that motion, ECF No. 44, the Court’s 9/6/ 18 Minute Order, and the joint

response to that Minute Order Will be unsealed.

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Date THE HONORA§L'EBERYL A. HOWE£L
CHIEF UNITED STATES DISTRICT JUDGE

